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                                           IN THE                             DEPUD cusax
                            UNITED STATESDISTRICTCOUI/ RRISONBURGojvjsjoN,w.aofvA
                                        FOR TH E
                            W ESTERN DISTRICT OF V IR GIN IA
                               H ARR ISON BU RG DIV ISION
                                   JU LY 2015 SESSION


UN ITED STA TES O F A M ERICA

                                               Crim inalN o. 5:15C

W A IG EN EV AN S,JR .,

      a/k/açlcharlie'sbrother,''               V iolations:
                                                  21U.S.C.jj846& 841(b)(1)(A)
      Defendant.                                  21U.S.C.jj846& 841(b)(1)(C)


                                       IND ICTM EN T

       The G rand Jlzry chargesthat:

                                        COUNT ONE

          1.   Begirming ata dateunknown totheGrand Jury,butfrom in oraround

approxim ately Febrtzary 2013,and continuingthrough October2014,in theW estern Districtof

Virginia and elsewhere,thedefendant,W ARREN EVANS,JR.,and othersboth known and

unknown to the Grand Jury,did knowingly and intentionally combine,conspire,confederate,and

agree,togetherand w ith otherpersons,to com m itthe follow ing offensesagainstthe U nited

States:

       a.      to distribute andto possesswith theintentto distribute 1,000 grnm sorm oreofa

m ixture and substance containing a detectable am ountofheroin,a Schedule Icontrolled

substance,inviolationofTitle21,UnitedStatesCode,Sections841(a)(1)and841(b)(1)(A);




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       b.     to distributeand topossesswith the intentto distribute 280 gram sorm ore ofa

mixtureand subsfnncecontainingadetectableamountofcocainebaseCûcrack'),aSchedule11
controlledsubstance,inviolationofTitle21,UnitedStatesCode,Sections841(a)(1)and
841(b)(1)(A);and
              to distribute and to possesswith theintentto distributeam ixtureand substnnce

containing adetectable nmotmtofcocaine,itssalts,isomers,and saltsofitsisomers,a Schedule

11controlledsubstnnce,inviolation ofTitle21,UnitedStatesCode,Sections841(a)(1)and
841(b)(1)(C).
       2.     A11inviolationofTitle21,UnitedStatesCode,Sections846,841(b)(1)(A),and
841(b)(1)(C).
                                       C O U NT TW O

              Beginning atadateunknown to the Grand Jury,butfrom in orarotmd

approximately Febnzary 2013,and continuingthrough October2014,in the W estern Districtof

V irginia and elsew here,the defendant,W A R REN EVA N S,JR .,and othersboth know n and

unknown to the Grand Jury,did knowingly and intentionally com bine,conspire,confederate,and

agree,togetherand with otherpersons,to distributeand to possesswith the intentto distributea

quantity ofamixtureand substancecontaining adetectable nmountofheroin,aScheduleI

controlledsubstance,theuseofwhichresultedin theseriousbodilyinjtlryanddeathofR.F.L.on
oraboutM arch 19,2014.

       2.     AllinviolationofTitle21,UnitedStatesCode,Sections846and841(b)(1)(C).
                                NOTICE OF FORFEITVRE

              Upon conviction ofone ormoreofthefelony offensets)allegedin this
Indictm ent,the defendantshallforfeitto the United States:



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      a.     any property constituting,orderived from ,any proceedsobtained,directly or

indirectly,asaresultofsaidoffenses,pursuantto21U.S.C.j853(a)(1).
      b.     any property usçd,orintended to be used,in any m nnnerorpart,to comm it,orto

facilitatethecommissionofsaidoffenses,plzrsllantto21U.S.C.j853(a)(2).
      2.     lfany oftheabove-described forfeitableproperty,asaresultofany actor

om ission ofthedefendant:

      a.     cannotbe located upon theexerciseofduediligence;
      b.     hasbeen transferred orsold to,ordeposited with athird person;
      C.     hasbeenplacedbeyondthejurisdictionoftheCourt;
      d.     hasbeen substantially diminished in value;or
      e.     hasbeen comm ingled with otherpropertywhich cnnnotbe subdivided without
             diftk ulty;

itistheintentoftheUnited Statesto seek forfeitlzre ofany otherproperty ofthedefendantup to

thevalueoftheabove-describedforfeitableproperty,pursuantto21U.S.C.j853û9.

      A TRUEBILL,this & 1 dayofJuly,2015.

                                                       ST OREPERSON
                                                       FOR EPERSON


                p'           Fv
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